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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA
                                                    )
                                                    )
                                                        Criminal No. . |C|eHol^9
                                                    )   Violation:
                V.
                                                    )
                                                    )   CountOne: Transmitting in Interstate and
ADDISON CHOI,                                       ^ Foreign Commerce aThreat to Injure the
                                                    )   Person of Another (18 U.S.C. § 875(c))
                       Defendant
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       At all times relevant to this Information:


       1.      Defendant Addison CHOI was a 21-year-old male who attended college in

Wellesley, Massachusetts, and was a member of his college's varsity soccer team. When not at

school, CHOI lived in California.

       2.      Instagram is a social media site that allows users to post photographs and

comments on their own online Instagram pages and to post comments on others' pages.

       3.      CHOI gambled prolifically on sports, including baseball, football, basketball,

hockey, soccer, and tennis. The players and teams that he gambled on belonged to professional

and collegiate leagues, both domestic and international.

       4.      CHOI lost more money than he won, and borrowed from family and friends to

pay his gambling debts and gamble more.

       5.      When CHOI thought that a team or player he had bet on was not performing well

enough during a game for CHOI to win his bet, CHOI threatened those players or teams with

death. He posted the threats in interstate and foreign commerce on the players' and teams'


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